Case 1:19-md-02875-RMB-SAK    Document 2208   Filed 12/19/22   Page 1 of 15 PageID:
                                    75974



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE


  IN RE VALSARTAN, LOSARTAN, AND
  IRBESARTAN PRODUCTS LIABILITY                     No. 1:19-md-2875-RBK
  LITIGATION
                                                    Hon. Robert B. Kugler
  This document relates to:                        Hon. Thomas I. Vanaskie
  All Actions


       PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                    TEVA’S MOTION TO SEAL
Case 1:19-md-02875-RMB-SAK                  Document 2208              Filed 12/19/22           Page 2 of 15 PageID:
                                                  75975



                                        TABLE OF CONTENTS


  I.     INTRODUCTION ...........................................................................................1
  II.    LEGAL STANDARD .....................................................................................2
         a.       Judicial Documents Are Presumptively Entitled to Public Access ......2
         b.       The Proponent of Sealing Must Make Showing to Overcome
                  Presumption of Public Access ...............................................................3
                  i.    Commercially Sensitive Information Is Not Categorically
                        Exempt from Public Access ........................................................4
                  ii.   The Proponent of Sealing Must Articulate Specified Harm .......4
  III.   ARGUMENT ...................................................................................................6
         a.       The At-Issue Documents Contain No Confidential Information ..........6
                  i.       Teva’s Investigation into the NDMA Impurity is Not
                           Commercially Sensitive Information ..........................................7
                  ii.      Teva’s Investigation into the Toxicology of NDMA is Not
                           Commercially Sensitive Information ..........................................8
                  iii.     Teva’s Investigation into their API Supplier is Not a Proprietary
                           Process.......................................................................................10
         b.       Teva’s Declaration Does Not Provide the Specific, Concrete Harm
                  Required by this Court ........................................................................10
  IV.    CONCLUSION..............................................................................................11




                                                            i
Case 1:19-md-02875-RMB-SAK                       Document 2208              Filed 12/19/22           Page 3 of 15 PageID:
                                                       75976




                                          TABLE OF AUTHORITIES

  CASES
  Cole's Wexford Hotel, Inc. v. Highmark, Inc.,
   No. 2:10-cv-01609-JFC, 2019 U.S. Dist. LEXIS 142214 (W.D. Pa. May 31,
   2019) .......................................................................................................................3

  Goldstein v. Forbes (In re Cendant Corp.),
   260 F.3d 183 (3d Cir. 2001) ...................................................................................2

  In re Avandia Mktg., Sales Practices & Prods. Liab. Litig.,
    924 F.3d 662 (3d Cir. 2019) ......................................................................... passim

  In re Valsartan N-Nitrosodimethylamine (NDMA),
    512 F. Supp. 3d 546 (D.N.J. 2021).........................................................................4

  Littlejohn v. BIC Corp.,
    851 F.2d 673 (3d Cir. 1988) ...................................................................................3

  Publicker Indus., Inc. v. Cohen,
   733 F.2d 1059, 1074 (3d Cir. 1984) .......................................................................3




                                                                ii
Case 1:19-md-02875-RMB-SAK        Document 2208     Filed 12/19/22   Page 4 of 15 PageID:
                                        75977




     I.      INTRODUCTION

          Over the course of nearly a dozen weeks, Plaintiffs cooperatively engaged in

  meet-and-confers with each of the Manufacturer Defendants regarding the

  confidentiality designations of hundreds of documents and depositions appended to

  the Parties’ Class Certification Briefing. During these meet-and-confers, Plaintiffs

  heeded previous admonitions from the Court and endeavored to provide reasonable

  redactions when such redactions were appropriate, or to concede when documents

  were legitimately confidential and would cause cognizable, real and material harm

  to a Defendant should it be filed publicly on the docket. The result of these efforts

  limited the entire universe of dispute with Defendants to these six (6) documents

  produced by Teva. However, with respect to these six documents, Plaintiffs cannot

  and will not concede they are entitled to sealing treatment (in whole or in part).

          The six documents at issue relate primarily to investigative activities

  conducted by Teva after the nitrosamine impurity became public. They include

  documents related to Teva’s high level investigation into the root cause of the

  nitrosamine contamination, Teva’s toxicological assessment of the nitrosamine

  contamination, and Teva’s investigations and assessments of its Valsartan API

  suppliers who supplied API contaminated with the nitrosamine contamination. As

  more fully discussed below, each of these activities falls squarely within the

  framework of the current Good Manufacturing Practices (hereafter “cGMPs”),

                                            1
Case 1:19-md-02875-RMB-SAK             Document 2208        Filed 12/19/22      Page 5 of 15 PageID:
                                             75978



  which are common, industry-wide practices utilized by every single manufacturer1

  of a drug substance – and the exact opposite of commercially sensitive information

  that is somehow proprietary only to Teva.

            The self-serving and broad attestations contained in the Declaration of

  Anthony Binsol (hereafter “Binsol Decl.”) do not meet the burden required by the

  Third Circuit to maintain sealing. Teva’s motion should be denied.


      II.      LEGAL STANDARD

               a. Judicial Documents Are Presumptively Entitled to Public Access

            As the Third Circuit has repeatedly held, judicial documents, such as the

  documents appended in support of (or in opposition to) the overall class certification

  briefing, are entitled to a presumption of public access. In re Avandia Mktg., Sales

  Practices & Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019). As the Court

  held, “the more rigorous common law right of access [applies] when discovery

  materials are filed as court documents.” Id.

            While Rule 26 permits the use of protective orders to designate these

  documents as confidential when produced during discovery, the standard is different

  than the inquiry a Court must engage in prior to sealing the same documents when

  they become judicial documents. The public right of access—unlike a Rule 26



  1
    It bears noting that documents exactly like the ones in dispute here were likewise challenged with
  the other Manufacturer Defendants, and those Defendants agreed with Plaintiffs that the
  documents did not require full sealing.
                                                     2
Case 1:19-md-02875-RMB-SAK         Document 2208     Filed 12/19/22   Page 6 of 15 PageID:
                                         75979



  inquiry—begins with a presumption in favor of public access. Avandia, 924 F.3d at

  670; see also D.E. 1269, p. 7.

        This is especially true here, in assessing judicial documents that are being

  offered in support of the proposed certification of a class action. The Third Circuit

  has previously held that the right of public access is particularly compelling in class

  cases because “many members of the “public” are also plaintiffs in the class action”

  Goldstein v. Forbes (In re Cendant Corp.), 260 F.3d 183, 193 (3d Cir. 2001).

  Allowing the right to access judicial documents (such as those appended to the Class

  Plaintiffs’ Motions), promotes confidence in the “administration” of the Class

  Members’ case. Id.

            b. The Proponent of Sealing Must Make a Specific Showing of Harm
               to Overcome Presumption of Public Access

        Because there is a presumption in favor of access for these judicial documents,

  the burden requires Teva to demonstrate that the “material is the kind of information

  that courts will protect, and that disclosure will work a clearly defined and serious

  injury to the party seeking closure.” In re Avandia Mktg., Sales Practices & Prods.

  Liab. Litig., 924 F.3d 662, 678 (3d Cir. 2019) (quoting Miller v. Ind. Hosp., 16 F.3d

  549, 551 (3d Cir. 1994)).




                                            3
Case 1:19-md-02875-RMB-SAK      Document 2208     Filed 12/19/22   Page 7 of 15 PageID:
                                      75980



                  i. Commercially Sensitive Information Is Not Categorically
                     Exempt from Public Access

        While certain trade secrets or highly commercially sensitive information may

  overcome the public right of access, that is not to say that trade secrets or

  confidential commercial information are entitled to an “absolute exception”

  from public access. Cole's Wexford Hotel, Inc. v. Highmark, Inc., No. 2:10-cv-

  01609-JFC, 2019 U.S. Dist. LEXIS 142214, at *37 (W.D. Pa. May 31, 2019).

  Furthermore, merely confidential business information is not entitled to the same

  level of protection from disclosure as trade secret information. Littlejohn v. BIC

  Corp., 851 F.2d 673, 685 (3d Cir. 1988).

        Additionally, not all commercial harms or financial losses are entitled to

  protection from disclosure. These includes potential commercial harms that might

  stem from embarrassment and injury to corporate reputation (Avandia, 924 F.3d 662,

  672), or information that may cause the value of stock to decline

  does not override public access (Littlejohn, 851 F.2d at 685), or even information

  related to poor corporate management (Publicker Indus., Inc. v. Cohen, 733 F.2d

  1059, 1074 (3d Cir. 1984)).

                 ii. The Proponent of Sealing Must Articulate Specified Harm

        In terms of the articulated compelling and countervailing interests against

  disclosure, “specificity is essential.” Avandia, 924 F.3d at 673 (quoting In re



                                             4
Case 1:19-md-02875-RMB-SAK        Document 2208      Filed 12/19/22   Page 8 of 15 PageID:
                                        75981



  Cendant Corp., 260 F.3d at 194). “Broad allegations of harm, bereft of specific

  examples or articulated reasoning, are insufficient.” Id.

        Moreover, the Court has already rejected affidavits proffered in this case that

  contain conclusory and unspecified statements of “harm” in conjunction with the

  sealing inquiry. In re Valsartan N-Nitrosodimethylamine (NDMA), 512 F. Supp. 3d

  546, 553 (D.N.J. 2021). These include conclusory statements regarding generalized

  “allegations of injury to reputation and client relationships or the embarrassment that

  might result,” or statements that the authors and recipients of the documents

  expectation that the documents would remain confidential, because “large swatches

  of routine emails would be kept under wraps.” Id.

        Upon a review of the clearly defined and serious injury, the District Court

  must articulate the compelling, countervailing interests to be protected, and make

  “specific findings on the record concerning the effects of disclosure.” Avandia, 924

  F.3d at 672-73 (quoting In re Cendant Corp., 260 F.3d at 194). As such, any

  affidavit must be analyzed in conjunction with an independent review of the at issue

  documents, because, as Judge Schneider previously stated, the Court “is not required

  to give credence to [a] conclusory self-serving affidavit that is inconsistent with the

  Court's independent review of [the] documents.” In re Valsartan N-

  Nitrosodimethylamine (NDMA), 512 F. Supp. 3d 546, 553 (D.N.J. 2021).




                                            5
Case 1:19-md-02875-RMB-SAK            Document 2208         Filed 12/19/22     Page 9 of 15 PageID:
                                            75982



         The temporal posture of the parties must also be assessed. As the Third

  Circuit held in Avandia, “[s]ealing must be based on current evidence to show how

  public dissemination of the pertinent materials now would cause the competitive

  harm.” Id. at 678 (quoting In re Cendant Corp., 260 F.3d at 196) (emphasis added).

      III.      ARGUMENT

                a. The At-Issue Documents Contain No Confidential Information

         Plaintiffs were extremely circumspect when negotiating the sealing of the

  documents appended to the Parties’ respective Class Certification motions. 2 The six

  at-issue documents that Plaintiffs challenge largely fall into three distinct topical

  groupings:

         i)       formal investigative reports regarding the nitrosamine contamination
                  (TEVA-MDL2875-00049024 (Exs. 16 and 67 to D.E. 1748), and
                  TEVA-MDL2875-00549883 (Ex. 66 to D.E. 1748));

         ii)      internal communications and investigations regarding the toxicology
                  of nitrosamine contamination (TEVA-MDL2875-00020519 (Ex. 72 to
                  D.E. 1748), and TEVA-MDL2875-00042885 to TEVA-MDL2875-
                  00042887 (Ex. 97 to D.E. 1748)); and

         iii)     internal communications regarding audits of ZHP in the wake of the
                  knowledge of the nitrosamine contamination (TEVA-MDL2875-
                  00522655 to TEVA-MDL2875-00522660 (Ex. 88 to D.E. 1748), and



  2
    Plaintiffs did not challenge documents which contained information that could potentially be
  considered a proprietary trade secret (such as documents detailing specific manufacturing
  processes), or documents which would contain the type of commercial sensitive information the
  Third Circuit has previously held to be the type that might warrant sealing (such as customer sales
  data). Plaintiffs likewise provided reasonable proposals for redactions of this information when
  appropriate. As such, what was initially a universe of over one thousands potentially challenges
  has been limited to only these 6 documents.
                                                    6
Case 1:19-md-02875-RMB-SAK            Document 2208        Filed 12/19/22      Page 10 of 15 PageID:
                                            75983



                 TEVA-MDL2875-004003913 to TEVA-MDL2875-0040000 (Ex. 90 to
                 D.E. 1748)).

                     i. Teva’s Investigation into the NDMA Impurity is Not
                        Commercially Sensitive Information

         Teva claims that the “disclosure of [TEVA-MDL2875-00049024] would

  cause irreparable harm to Teva by providing its competitors with direct insight into

  Teva’s internal processes for investigating, evaluation, correcting and mitigating the

  presence of nitrosamine impurities.” Binsol Decl. at 4. However, these were not

  processes and evaluations that Teva decided to conduct on their own -- Teva was

  required by the FDA to conduct these investigations and evaluations. See Ex. A,

  TEVA-MDL2875-00051242. Moreover, these evaluations were not only conducted

  by Teva, but they were also conducted by every drug manufacturer across the world

  who manufactured ARBs.4


         Additionally, Teva cannot credibly claim that its internal investigations into

  nitrosamine impurities are somehow commercial sensitive, when a Teva subsidiary


  3
    Plaintiffs are cognizant that they previously challenged the confidentiality designation on this
  document, but as discussed supra, the inquiry related to sealing is a higher bar given the
  presumption of public access for judicial documents. As such we believe the specific inquiry about
  sealing must be addressed by the Court. Even if Teva may have met the “good cause standard
  of Rule 26(c)” this “cannot in itself provide the showing needed to seal the submission of judicial
  records to be utilized in a formal adjudication of central issues in a lawsuit.” Carnegie Mellon
  University, 2013 U.S. Dist. LEXIS 45050, 2013 WL 1336204 at * 4.
  4
    See Ex. B, https://www.ema.europa.eu/en/documents/referral/nitrosamines-emea-h-a53-1490-
  assessment-report_en.pdf (last accessed December 19, 2022) (asking manufacturers to conduct a
  investigation taking into account the relevant ICH Guidance and discussion of the different
  factors that would go into such an investigation). See also Ex. C,
  https://www.fda.gov/media/141720/download (last accessed December 19, 2022) (requesting
  that investigations into the root cause of potential nitrosamine impurities should be investigated
  and identifying changes that would eliminate the root cause).
                                                     7
Case 1:19-md-02875-RMB-SAK         Document 2208   Filed 12/19/22   Page 11 of 15 PageID:
                                         75984



  has an entire public facing website detailing how the company evaluates nitrosamine

  impurities in its drug products. See Ex. D, Teva API Website. There, Teva publicly

  discusses how it identified potential risks in its products, and then further mapped

  these risks as either “high, medium, or low risk, based on the proximity between the

  two components – nitrosating source and amine source – during the production

  process.” Id. This information was further elaborated upon in a webinar that Teva

  invited members of the public (and other competitors from the pharmaceutical

  industry) to join. See Ex. E, Teva Webinar featuring head of global

  compliance, Lena Ben Moha-Lerman (discussing the potential risks of contaminated

  starting materials and solvents, such as recycled solvents or materials that we source

  from a third-party, and how in response to this Teva sends out dedicated

  questionnaires to all our vendors and based on their answers we conclude whether

  or not there is a potential risk).

                   ii. Teva’s Investigation into the Toxicology of NDMA is Not
                       Commercially Sensitive Information

         Much like with the evaluations and investigations that were required to be

  conducted under cGMPs, Teva’s post hoc investigation into the toxicology of the

  nitrosamine impurities was likewise an investigative process required by world

  regulators after the discovery of the contamination. In guidance, the FDA requires

  that a drug substance manufacturer employ established risk management strategies

  and assess the theoretical increase in risk, which would result in investigative

                                            8
Case 1:19-md-02875-RMB-SAK                  Document 2208          Filed 12/19/22       Page 12 of 15 PageID:
                                                  75985



  documents like those which Teva is now claiming in some internal proprietary

  practice. 5


            Contrary to the assertions contained in Mr. Binsol’s declaration, these cancer

  risk assessments Teva conducted are well “established” throughout the industry (and

  not some commercially sensitive process proprietary to Teva). Id.                             They are

  predicated on much of the same information and secondary sources Teva used in

  their risk assessment.


            Nevertheless, Mr. Binsol now claims that publication of this document would

  provide “direct insight with Teva’s internal thought processes concerning a

  toxicological assessment” and risk assessment of NDMA in Valsartan.” Binsol

  Decl. at 6. However, despite this grave fear, Teva appears to have no problem with

  the author of TEVA-MDL2875-00020519, Raphael Nudelman, conducting paid

  industry talks about this very subject to the public. See Ex. F, Raphael Nudelman

  list of public speeches (including a speech discussing the setting the acceptable limit

  on nitrosamines that lack carcinogenicity data, and a speech related to the “best

  practices” related to computing the mutagenicity of an impurity).




  5
      See Ex. G (last accessed December 19, 2022) https://www.fda.gov/media/85885/download
                                                          9
Case 1:19-md-02875-RMB-SAK       Document 2208     Filed 12/19/22    Page 13 of 15 PageID:
                                       75986



                 iii. Teva’s Investigations into their API Suppliers Are Not
                      Commercially Sensitive Information

        While Teva claims that disclosure of communications regarding their audit of

  ZHP, an API supplier, would cause “irreparable harm to Teva by providing its

  competitors with internal thought processes of Teva leadership concerning an

  internal audit as well as Teva’s internal reporting processes.” However, this auditing

  and internal reporting of the auditing processes are, again, practices and activities

  which are part of the activities manufacturers are required to conduct as part of

  cGMP and not a proprietary activity of Teva. In fact, the FDA provided a fairly

  detailed presentation on the matter of how to audit a supplier, and which metrics and

  parameters one would use to qualify a supplier. See Ex. H. Moreover, as part of this

  presentation, the FDA even included a case study from Pfizer (a global

  pharmaceutical manufacturer that with an even market cap than Defendant Teva), to

  demonstrate how they went about to develop their supplier management practices

  and infrastructure. Id.


           b. Teva’s Declaration Does Not Provide the Specific, Concrete Harm
              Required by this Court

        Mr. Binsol’s Declaration is replete with sweeping statements regarding the

  competitive harm Teva would suffer.        However, Mr. Binsol fails to credibly

  articulate how and why information regarding Teva’s compliance (or non-

  compliance) with public guidelines and regulations regarding cGMPs would actually

  be competitively harmful. Mr. Binsol’s affidavit is further undercut by the fact that
                                           10
Case 1:19-md-02875-RMB-SAK            Document 2208        Filed 12/19/22      Page 14 of 15 PageID:
                                            75987



  Teva has disclosed much of the information it now claims is competitively sensitive

  to industry partners in webinars and talks. See Exs. C-F.6

           If the implicit implication in Mr. Binsol’s affidavit is that knowledge of

  Teva’s poor management in complying with and abiding by the global regulations

  and guidance is somehow competitively sensitive, as further discussed supra,

  information about poor management is not enough to overcome the presumption of

  public access.


        IV.   CONCLUSION

           For the foregoing reasons, the Court should deny Teva’s motion to seal. In

  accordance with Local Rule 5.3, Plaintiffs’ have attached a proposed order to this

  brief.


      Dated: December 19, 2022                                Respectfully Submitted,

      /s/ Ruben Honik                                         /s/ Daniel Nigh
      Ruben Honik                                             Daniel Nigh
      HONIK LAW                                               LEVIN, PAPANTONIO, THOMAS,
      1515 Market Street Ste. 1100                            MITCHELL
      Philadelphia, PA 19102                                   RAFFERTY & PROCTOR, P.A.
      Phone: (267) 435-1300                                   316 South Baylen Street
      ruben@honiklaw.com                                      Pensacola, FL 32502
                                                              Phone: (850) 435-7013
                                                              dnigh@levinlaw.com

  6
    Teva’s multiple public webinars about these topics also demonstrates the presence of another
  important factor which is a critical factor in assessing sealing – the need for information to be
  disclosed publicly if it involves a matter of public health and would be of great importance to the
  public. Avandia, 924 F.3d at 671. It is obvious Teva views this information as a matter of some
  public importance – otherwise there would be no market for $400 webinars.
                                                   11
Case 1:19-md-02875-RMB-SAK       Document 2208      Filed 12/19/22   Page 15 of 15 PageID:
                                       75988




   /s/ Adam Slater                                    /s/ Conlee S. Whiteley
   Adam Slater                                        Conlee S. Whiteley
   MAZIE, SLATER, KATZ & FREEMAN, LLC                 KANNER & WHITELEY, LLC
   103 Eisenhower Pkwy, 2nd Flr.                      701 Camp Street
   Roseland, NJ 07068                                 New Orleans, LA 70130
   Phone (973) 228-9898                               Phone: (504)-524-5777
   aslater@mazieslater.com                            c.whiteley@kanner-law.com


                              Plaintiffs Co-Lead Counsel




                           CERTIFICATE OF SERVICE

        I hereby certify that on December 19, 2022, a true and correct copy of the

  foregoing was filed and served upon all counsel via operation of the CM/ECF system

  for the United States District Court for the District of New Jersey.

                                                   /s/ Layne C. Hilton
                                                   Layne C. Hilton




                                            12
